Case 1:25-cv-00946-CKK   Document 97-1     Filed 04/16/25   Page 1 of 3




                  Exhibit 1
                  Civil Action No. 25-cv-0952 (CKK)
      Case 1:25-cv-00946-CKK           Document 97-1         Filed 04/16/25      Page 2 of 3


                  U.S. ELECTION ASSISTANCE COMMISSION
                  633 3rd St. NW, Suite 200
                  Washington, DC 20001



                                                                                      VIA EMAIL
Aprill 11, 2025


Dear Chief Election Officials,


Consistent with 52 U.S.C. § 20508(a)(2), the U.S. Election Assistance Commission (“EAC”) is
seeking consultation on development of the national mail voter registration form.

Executive Order 14248 of March 25, 2025, “Preserving and Protecting the Integrity of American
Elections” (“EO 14248”) provides instruction to the EAC. Section 2 of EO 14248 instructs the
following be required in the national mail voter registration form:

       (A) documentary proof of United States citizenship, consistent with 52 U.S.C.
       20508(b)(3); and
       (B) a State or local official to record on the form the type of document that the applicant
       presented as documentary proof of United States citizenship, including the date of the
       document's issuance, the date of the document's expiration (if any), the office that issued
       the document, and any unique identification number associated with the document as
       required by the criteria in 52 U.S.C. 21083(a)(5)(A), while taking appropriate measures
       to ensure information security.

Section 2 of EO 14248 also instructs that "documentary proof of United States citizenship" shall
include a copy of:

       (A) a United States passport;
       (B) an identification document compliant with the requirements of the REAL ID Act of
       2005 (Public Law 109-13, Div. B) that indicates the applicant is a citizen of the United
       States;
       (C) an official military identification card that indicates the applicant is a citizen of the
       United States; or
       (D) a valid Federal or State government-issued photo identification if such identification
       indicates that the applicant is a United States citizen or if such identification is otherwise
       accompanied by proof of United States citizenship.

A current copy of the national mail voter registration form is available here:
https://www.eac.gov/sites/default/files/eac_assets/1/6/Federal_Voter_Registration_ENG.pdf.
The EAC is seeking consultation on how states would propose to implement Section 2 of EO
14248, if required. The EAC is also seeking feedback on the impact of implementation on voter
registration in your state. As required by 52 U.S.C. § 20508, the EAC will consider responses in
any amendments to the national mail voter registration form or EAC implementing regulations.
     Case 1:25-cv-00946-CKK       Document 97-1     Filed 04/16/25   Page 3 of 3




The EAC looks forward to your input. Comments may be sent to NVRAUpdates@eac.gov or by
mail at 633 3rd Street NW, Suite 200 Washington, DC 20001.


Thank you,


Briannna Schletz
EAC Executive Director
